Case 9:22-cv-81294-AMC Document 175 Entered on FLSD Docket 11/10/2022 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendants.
  _______________________________/

                              PLAINTIFF’S NOTICE OF FILING

         Plaintiff Donald J. Trump, through the undersigned counsel, hereby files the attached letter

  in response to the Special Master’s Order dated November 7, 2022, ECF 164. See Attachment A.

  Dated: November 10, 2022                     Respectfully submitted,

                                               /s/ Lindsey Halligan        .
                                               Lindsey Halligan
                                               Florida Bar No. 109481
                                               511 SE 5th Avenue
                                               Fort Lauderdale, FL 33301
                                               Email: lindseyhalligan@outlook.com

                                               James M. Trusty
                                               Ifrah Law PLLC
                                               1717 Pennsylvania Ave. NW, Suite 650
                                               Washington, D.C. 20006
                                               Telephone: (202) 524-4176
                                               Email: jtrusty@ifrahlaw.com

                                               Christopher M. Kise
                                               Chris Kise & Associates, P.A.
                                               201 East Park Avenue, 5th Floor
                                               Tallahassee, FL 32301
                                               Telephone: (850) 270-0566
                                               Email: chris@ckise.net

                                                  1
Case 9:22-cv-81294-AMC Document 175 Entered on FLSD Docket 11/10/2022 Page 2 of 3




                                     M. Evan Corcoran
                                     Silverman Thompson Slutkin White, LLC
                                     400 East Pratt Street – Suite 900
                                     Baltimore, MD 21202
                                     Telephone: (410) 385-2225
                                     Email: ecorcoran@silvermanthompson.com

                                     Counsel for Plaintiff Donald J. Trump




                                        2
Case 9:22-cv-81294-AMC Document 175 Entered on FLSD Docket 11/10/2022 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 10, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.



                                               /s/ Lindsey Halligan          .
                                               Lindsey Halligan




                                                  3
